               THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:21-cv-00067-MR


DMARCIAN, INC.,             )
                            )
               Plaintiff,   )
                            )
     vs.                    )                   ORDER
                            )
DMARC ADVISOR BV,           )
formerly known as dmarcian  )
Europe BV,                  )
                            )
               Defendant.   )
___________________________ )

      THIS MATTER is before the Court following a hearing on August 23,

2024, at which time the Defendant and its counsel were required to show

cause why this Court should not hold them in contempt and impose sanctions

for their failure to comply with the Court’s June 27, 2023 Order.

I.    BACKGROUND

      This case arises from a dispute between dmarcian, Inc. (“dmarcian”),

an American company, and the Defendant DMARC Advisor BV, formerly

known as dmarcian Europe BV (“DMARC Advisor”), a Dutch company, over

the ownership, licensing, and distribution of certain computer code (the

“Software”), which was the subject of a January 2016 oral agreement

between the parties. [Doc. 26-1 ¶¶ 16-18; Doc. 26-6 at ¶ 2.18].


     Case 1:21-cv-00067-MR    Document 401   Filed 12/20/24   Page 1 of 29
      In December 2019, dmarcian’s principal, Tim Draegen (“Draegen”),

temporarily suspended DMARC Advisor’s access to the Software. [Doc. 26-

2 at ¶ 2.19]. Two days later, dmarcian restored DMARC Advisor’s access to

the Software [Doc. 26-6 at ¶ 2.20], and the parties resumed negotiating a

potential license agreement or other solution to their dispute over ownership

of the Software. [Doc. 26-1 at ¶ 19]. When negotiations again stalled,

Draegen (then a DMARC Advisor shareholder) sought to remove DMARC

Advisor’s minority shareholder, TDX, as DMARC Advisor’s director. [Id. at ¶

20]. In July 2020, Draegen requested a Dutch shareholder meeting for that

purpose. [Id.]. TDX responded by submitting an application (akin to a motion

for injunctive relief) to the Enterprise Court of the Amsterdam Appellate

Court, seeking to block Draegen from removing TDX.1 [Id. at ¶ 22].

      In August 2020, both Draegen and TDX asked the Enterprise Court in

the Netherlands to order an investigation into DMARC Advisor’s policies and

course of affairs. [Doc. 26-2 at ¶¶ 1.3, 1.4]. On September 7, 2020, the

Enterprise Court ordered such investigation and appointed an independent

director with a decisive vote “to try to obtain clarity as to the question of where

the intellectual property rights to the software and software applications



1 dmarcian was not a party to these interim proceedings in the Enterprise Court.

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      Case 1:21-cv-00067-MR       Document 401      Filed 12/20/24   Page 2 of 29
developed by [DMARC Advisor] (and [DMARC Advisor’s Bulgarian

subsidiary]) lie.” [Doc. 10-1 at ¶ 3.5].

      While that investigation was ongoing, on January 22, 2021, dmarcian

told DMARC Advisor that it intended once again to terminate access to the

parties’ shared computer systems where the parties made the Software

available to their respective customers. [Doc. 26-1 at ¶ 30; Doc. 26-5 at ¶

4]. DMARC Advisor objected to this termination as inconsistent with the

parties’ agreement and the pending investigation, and it asked the District

Court of Rotterdam (“the Rotterdam Court”) to enjoin the termination. [Doc.

26-5 at ¶ 4].

      On January 29, 2021, DMARC Advisor summoned dmarcian and

Draegen to appear at a hearing on February 1, 2021, before the Rotterdam

Court. [Doc. 26-5 at ¶ 11]. Draegen and dmarcian did not appear that day.

[Id. at ¶ 12]. In an order entered February 1, 2021, the Rotterdam Court

entered a default against dmarcian and Draegen and directed them to grant

DMARC Advisor access to the computer systems necessary to service its

customers. [Doc. 26-3 at ¶ 3.3]. The court also fixed the coercive penalty

for non-compliance at €20,000 per day, up to €500,000, for both dmarcian

and Draegen. [Id. at ¶ 3.4].


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     Case 1:21-cv-00067-MR     Document 401    Filed 12/20/24   Page 3 of 29
     On March 12, 2021, dmarcian filed its Complaint in this Court,

asserting   claims   for   copyright   and   trademark        infringement     and

misappropriation of trade secrets, as well as related state claims for breach

of contract, defamation, computer trespass, tortious interference with

contract, tortious interference with prospective economic advantage, and

unfair or deceptive trade practices. [Doc. 1]. On March 25, 2021, dmarcian

submitted a motion for a temporary restraining order and preliminary

injunction. [Doc. 6]. The Complaint was later amended, with the most recent

amendment made on June 22, 2021. [Doc. 51].

     On April 19, 2021, DMARC Advisor filed a motion to dismiss based on

a lack of personal jurisdiction and forum non conveniens. [Doc. 22]. On May

26, 2021, this Court issued an Order enjoining DMARC Advisor and its

agents and attorneys and denying DMARC Advisor’s motion to dismiss.

[Doc. 39]. On June 25, 2021, DMARC Advisor appealed the Preliminary

Injunction and the Order denying its motion to dismiss. [Doc. 52]. On June

28, 2021, the Court issued a Show Cause Order based on allegations of

DMARC Advisor heaving violated the Preliminary Injunction Order. [Doc.

54]. Following a July 28, 2021 hearing, the Court issued Orders on August

11, 2021, holding DMARC Advisor in civil contempt of the Preliminary


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     Case 1:21-cv-00067-MR    Document 401   Filed 12/20/24     Page 4 of 29
Injunction and amending the Preliminary Injunction to clarify certain

provisions. [Docs. 76, 80, 82].

     On May 13, 2022, the Court issued an Order allowing discovery to

proceed despite the pendency of the appeal. [Doc. 123].

     On February 14, 2023, the Fourth Circuit issued its opinion affirming

the entry of the Preliminary Injunction and the denial of DMARC Advisor’s

motion to dismiss. [Doc. 168].

     While the U.S. litigation was getting underway, on May 31, 2021, the

Rotterdam Court issued a judgment rejecting dmarcian’s and Draegen’s

objections to the February 1, 2021, injunction requiring them to restore

DMARC Advisor’s access to the shared computer systems. [Doc. 47-2]. The

Rotterdam Court also upheld the previous €500,000 coercive penalty for

non-compliance and imposed a new coercive penalty of €20,000 per day for

further disobedience, with a maximum aggregate penalty of €1 million for

both dmarcian and Draegen. [Id. at ¶¶ 5.4, 5.6].

     On September 3, 2021, the year-long investigation of DMARC Advisor

by the Dutch Enterprise Court concluded. [See Doc. 93-6]. The court-

appointed investigator submitted a report, which described the history of the

parties’ relationship and found that, under applicable Dutch law, dmarcian

had no justification for terminating the January 2016 agreement with
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     Case 1:21-cv-00067-MR   Document 401    Filed 12/20/24   Page 5 of 29
immediate effect. [Doc. 93-2 at ¶¶ 7.11–7.13]. The investigator further

stated that it “is plausible that [dmarcian] and [DMARC Advisor] jointly have

copyrights to (the majority of) the source code of version 2.0,” [id. at ¶ 7.20],

and that if “the parties continue to use the software without mutual consent,

they are mutually infringing each other’s copyright to the source code,” [id.

at ¶ 7.22].

      Following the conclusion of the Enterprise Court proceedings, on

October 11, 2021, DMARC Advisor filed a Writ of Summons (the Dutch

equivalent of a civil complaint) in the Rotterdam District Court (the

“Rotterdam Complaint”). In the Rotterdam Complaint, DMARC Advisor

asserts ownership of the copyright in the Software “by operation of law under

Article 7 of the Dutch Copyright Act” [Doc. 106-5 at ¶ 6.22]; asserts the

creation of an original work of copyright under E.U. law [see id. at ¶ 6.28];

contends that use of the Software by dmarcian “would . . . infringe [DMARC

Advisor’s] copyright under Article 26 of the Dutch Copyright Act and the

copyright equivalents of other countries where [dmarcian] does business [id.

at ¶ 6.39]; and requests that the Rotterdam Court “partition the community

of [dmarcian] and [DMARC Advisor] in respect of computer programs to

which they jointly hold the copyright pursuant to Article 3:178 of the Dutch

Civil Code” [id. at ¶ 6.40].
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     Case 1:21-cv-00067-MR     Document 401    Filed 12/20/24   Page 6 of 29
      Pursuant to Article 12 of the Dutch Civil Law, dmarcian sought to stay

the Rotterdam proceedings in favor of the U.S. case. [See Doc. 174-2 at ¶¶

1.1, 5.1]. DMARC Advisor opposed dmarcian’s request for a stay. [Id. at ¶¶

5.6, 5.7]. In support of its opposition, DMARC Advisor relied on a May 2,

2022 affidavit from Pressly Millen, who is counsel of record along with

Samuel Hartzell in the action pending in this Court. [Id. at ¶ 5.8]. In his

Affidavit, Mr. Millen asserted, in pertinent part, as follows:

            16. As a general matter, U.S. courts recognize that
            “[i]ntellectual property” involves “separate and
            independent rights arising from the unique laws of
            each nation.” Black & Decker Corp. v. Sanyei
            America Corp., 650 F. Supp. 406, 409 (N.D.Ill.1986)
            (discussing copyright and trademark laws). Neither
            U.S. copyright law nor U.S. trademark law applies
            extraterritorially. See GB Mktg. USA Inc. v.
            Gerolsteiner Brunnen, 782 F. Supp. 763, 772
            (W.D.N.Y. 1991) (“Where copyright infringement
            occurs both inside and outside the United States, the
            [U.S.] district court has jurisdiction, but only over the
            U.S. infringement.”). For that reason, the North
            Carolina litigation, which pleads only violations
            of U.S. copyright and trademark law, is “incapable
            of resolving infringement under foreign law,” e.g.,
            Dutch law. Zynga, Inc. v. Vostu USA, Inc., 816 F.
            Supp. 2d 824, 829 (N.D. Cal. 2011) (U.S. court
            refusing to enjoin Brazilian copyright action).

            17. For these reasons (and notwithstanding the fact
            that the North Carolina Litigation is currently on
            appeal challenging both jurisdiction and failure of the
            court to apply the doctrine of forum non conveniens
            in order to dismiss the case), determinations to be
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     Case 1:21-cv-00067-MR     Document 401     Filed 12/20/24   Page 7 of 29
           made by the U.S. court in the North Carolina
           Litigation do not concern the same subject
           matter as the subject matter before the Dutch
           court. In other words, the primary subject matter
           of the North Carolina Litigation is alleged
           infringement of the intellectual property within
           the U.S. while the subject matter of the Dutch
           proceedings is related to the relationship between
           the parties with respect to their distribution
           agreement, co-ownership of the software code, and
           the determination of the penalties previously
           imposed.

[Doc. 186-1: Millen Aff. at ¶¶ 16-17] (emphasis added).

     On September 13, 2022, DMARC Advisor’s Dutch counsel, Alfred

Meijboom, filed pleading notes (essentially a brief) in the Rotterdam

proceedings, describing the U.S. proceedings to the Dutch court as follows:

     4.1   A month and a half after [DMARC Advisor] filed for
           summary judgment against [dmarcian] and Draegen
           in Rotterdam on January 28, 2021, and received
           default judgment on February 1, 2021, [dmarcian]
           addressed the U.S. reehter [sic] in North Carolina on
           March 12, 2021 .... Unlike in Dutch procedural law, a
           plaintiff in the United States can start a case and
           gradually adjust his claims and basis. Therefore, it
           cannot be said that, translated to Dutch proportions,
           [dmarcian] in the United States on March 12, 2021, a
           case on the merits has begun.

     4.2   [dmarcian], in fact, first sought a Temporary
           Restraining Order . . . .

     4.3   Also, [dmarcian] (still in the same case) sought
           injunctive relief (i.e., a preliminary injunction)—for
           [DMARC Advisor’s] alleged infringement of U.S.
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     Case 1:21-cv-00067-MR   Document 401   Filed 12/20/24   Page 8 of 29
      copyright, the Lanham Act (trademark law), local
      know-how and for “tortuous [sic] interference” with
      [dmarcian’s] agreements with its U.S. customers
      because [DMARC Advisor] allegedly persuaded a
      customer to use its European instance [sic], based on
      an amended claim dated April 7, 2021—for which the
      court did assert jurisdiction, and on May 26, 2021,
      granted the claims to some extent. [DMARC Advisor]
      appealed the May 26, 2021 preliminary injunction
      (both jurisdiction and sentencing) on June 25, 2021,
      and the Court of Appeals 4th Circuit is expected to
      enter judgment by the end of the year.

4.4   The May 26, 2021 Order is a contempt order . . . and
      not a judgment on the merits . . . .

4.5   . . . [O]n May 22, 2022, the U.S. court commenced
      proceedings on the merits and ultimately issued a
      pretrial order on July 11, 2022, setting forth a roadmap
      for the continuation of the proceedings . . . to the effect
      that the parties first conduct a discovery (in the
      American system, this is essentially gathering
      evidence for the purpose of presenting evidence at
      oral argument—the trial), to be completed by the end
      of February 2023. The final claim is filed through
      motions, and not later than March 31, 2023. The
      substantive, oral hearing (the trial) will take place on
      or after September 5, 2023.

4.6   In the meantime, the parties are still required to try a
      mediation, which must be completed by March 15,
      2023 ....

4.7   There is therefore no question of the North
      Carolina judge being the first adjudicated judge
      on the merits in the spirit of Article 12 Rv. The U.S.
      court has only granted injunctive relief, and it will


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Case 1:21-cv-00067-MR    Document 401     Filed 12/20/24   Page 9 of 29
             take until March 2023 for Oberhaupt2 to determine the
             final bases and claims of [dmarcian] in the U.S.
             proceedings on the merits (if the North Carolina
             court’s finding of jurisdiction has not been overturned
             by the Court of Appeals by then, or the appeal does
             not result in further delay).

      4.8    In the present case, the summons was served on
             [dmarcian] and Draegen on October 11, 2021,
             making the Rotterdam District Court the court first
             asked to rule on the parties’ disputes on the
             merits.

      4.9    For this reason alone, therefore, the Rotterdam
             District Court should hear the case expeditiously and
             not adjourn until the U.S. court has issued a judgment
             on the merits.

[Doc. 173-1: Meijboom Aff. at ¶¶ 4.1-4.9] (footnotes omitted) (bold emphasis

added).

      On May 20, 2022, while dmarcian’s motion to stay the Dutch

proceedings was pending, DMARC Advisor filed a separate preliminary relief

proceeding in the Rotterdam Court. [Doc. 174-1]. In that filing, DMARC

Advisor asserted that it is a co-copyright holder of the Software and

contended that it “also has an interest in [dmarcian] being enjoined from




2 While it is unclear whether “Oberhaupt” has a particular meaning in the Dutch language,

the Court is aware that “Oberhaupt” in German means “chief.” The Court therefore
assumes that this is a reference to the undersigned, who is currently serving as the Chief
Judge of the Western District of North Carolina.

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     Case 1:21-cv-00067-MR       Document 401       Filed 12/20/24   Page 10 of 29
changing the Software – except for repairing errors.” [Id. at ¶ 6.16]. DMARC

Advisor explicitly asked the Rotterdam Court for a “mirror image” of this

Court’s Preliminary Injunction, seeking to enjoin dmarcian from “altering the

Software, except for modifications which are necessary to comply with the

other orders based on the judgment to be rendered in this matter or to correct

demonstrable errors.” [Id. at 50].

      On July 18, 2022, the Rotterdam Court granted DMARC Advisor’s

request for preliminary relief and entered an order which, among other

things, “[p]rohibits [d]marcian . . . from altering the Software without [DMARC]

Advisor’s consent, except for the modifications that are necessary to comply

with other orders based on this judgment and correction of demonstrable

errors.” [Doc. 141-2 at ¶ 7.3].

      On December 14, 2022, the Rotterdam Court denied dmarcian’s

request to stay (referred to as a “lis pendens appeal”) the Rotterdam action

that had been initiated on October 11, 2021. [Doc. 173-2]. In denying the

stay, the Rotterdam Court accepted DMARC Advisor’s representation that

the U.S. case did not “commence” until May 22, 2022:

      5.35. The question remains whether the American
            proceedings that dmarcian Inc. bases its lis pendens
            appeal on were instituted earlier than the present
            case . . .

                                      11



     Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 11 of 29
 5.36. Since in the present case the day of summons is
       October 11, 2021, cleze case is pending pursuant to
       a11icle 125 paragraph I Rv from that day.

 5.37. During the oral hearing of I September 4, 2022,
       [DMARC Advisor] explained very concretely and
       further substantiated with documents that in the
       U.S. proceedings that dmarcian Inc. underlies its
       lis pendens appeal to date only decisions of a
       provisional nature (injunctive relief) have been
       rendered and that the court in those proceedings
       did not commence proceedings on the merits
       until May 22, 2022. dmarcian Inc. has left this
       exposition of [DMARC Advisor] undisputed and the
       court assumes that the decisions rendered before
       May 22, 2022 should be considered as preliminary
       injunctive relief under the applicable procedural law.

 5.38. A procedure for obtaining provisional relief is not a
       procedure that is relevant in the present context.
       Article 12 of the Dutch Code of Civil Procedure
       requires that in the foreign proceedings a
       judgment can be given that is capable of
       recognition and, if applicable, enforcement in the
       Netherlands. With regard to that requirement, the
       Court considers that it is implicit in that requirement
       that the foreign decision must have or be able to
       acquire res judicata in the Netherlands. Under Dutch
       civil procedural law, a summary judgment is not
       subject to res judicata .... The court considers that
       this applies equally, and on the same grounds, to a
       decision of a foreign court that should be considered
       as an interim injunction ....

 5.39. The fact that, in the American proceedings, it is not a
       separate legal proceeding but a preliminary phase of
       the proceedings does not alter the fact that the ratio
       of the lis pendens rule precludes taking this first
       phase into account. After all, that ratio is that if
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Case 1:21-cv-00067-MR   Document 401    Filed 12/20/24   Page 12 of 29
             proceedings          have       been       commenced
             simultaneously in two jurisdictions that can lead
             to a decision that can become res judicata, the
             older proceedings take precedence. The
             assessment of the lis pendens appeal of dmarcian
             Inc. is therefore limited to the bidder dispute initiated
             by the American court on May 22, 2022.

[Id. at 17 §§ 5.35-5.39] (errors uncorrected)3 (emphasis added). The

Rotterdam Court set a July 5, 2023 trial date to determine the parties’ rights

in the very software at issue in the present case.

      The Plaintiff then moved this Court to enter an antisuit injunction to

preliminarily enjoin DMARC Advisor from proceeding on its Dutch claims as

to copyright ownership and the terms of the parties’ contract and breach

thereof until the U.S. litigation was tried on its merits.              [Doc. 185].

Additionally, dmarcian asked this Court to require DMARC Advisor to correct

certain misrepresentations made to the Dutch Court regarding the status of

the U.S. case. [Id.].

      This Court denied dmarcian’s request for an antisuit injunction,

concluding that principles of international comity weighed against enjoining

DMARC Advisor from proceeding with the Rotterdam Court litigation. [Doc.



3 This Judgment was translated into English by an unknown entity and contains a number

of typographical errors. The Court presents the language of the translated Judgment
without corrections.
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     Case 1:21-cv-00067-MR      Document 401     Filed 12/20/24   Page 13 of 29
216 at 16-17]. However, the Court granted dmarcian’s request to require the

Defendant to correct certain misrepresentations made to the Dutch court by

its American counsel, Mr. Millen, in his affidavit and by its Dutch counsel, Mr.

Meijboom, in his pleading notes. Specifically, the Court held as follows:

             In opposing dmarcian’s request, DMARC Advisor
             submitted the affidavit of American counsel, Pressly
             Millen, who represented to the Dutch Court that the
             U.S. litigation involves only violations of U.S.
             copyright and trademark law only within the U.S. and
             therefore does not concern the same subject matter
             as the litigation before the Dutch Court. [Doc. 186-1:
             Millen Aff. ¶¶ 16-17]. Mr. Millen conceded at the
             hearing on this matter, however, that there is a
             degree of overlap of claims asserted in the U.S. and
             Dutch litigation. This representation is also clearly
             contrary to this Court’s determination, just months
             earlier, that the Copyright Act can be applied
             extraterritorially based on the facts presented in this
             case.4 [Doc. 39 at 48-49].

             Mr. Millen’s Affidavit also wrongly implies that issues
             of copyright ownership and the terms of the parties’
             agreement are not at issue in the U.S. case.
             However, dmarcian’s original Complaint makes
             numerous allegations placing the ownership of the
             copyright in the source code directly at issue. [Doc.
             1 at ¶¶ 2, 8, 9, 33(g), 70, 71(c), 126]. Moreover,
             dmarcian also pled breach of contract claims, which
             will require the Court to determine the nature of the
             parties’ relationship and the terms of their
             agreement. [Id. at ¶¶ 114-24]. These allegations and

4 The Fourth Circuit later affirmed this determination. See dmarcian, Inc. v. dmarcian Eur.

BV, 60 F.4th 119, 139-40 (4th Cir. 2023).

                                            14



     Case 1:21-cv-00067-MR        Document 401      Filed 12/20/24    Page 14 of 29
      claims were carried forward to dmarcian’s Second
      Amended Complaint. [Doc. 51].

      Several months later, DMARC Advisor’s Dutch
      counsel, Alfred Meijboom, filed pleadings notes in
      opposition to dmarcian’s request for a stay, arguing
      that the Rotterdam proceedings (which commenced
      in October 2021) preceded the commencement of
      proceedings on the merits in the U.S. Specifically, Mr.
      Meijboom asserted that the filing of the U.S.
      Complaint in March 2021 sought only interim
      injunctive relief and therefore did not begin “a case
      on the merits,” and that this Court did not commence
      “proceedings on the merits” until May 22, 2022. [Doc.
      173-1 at ¶¶ 4.1-4.5]. These statements are false and
      misleading. Unlike Dutch law, wherein proceedings
      on the merits are conducted separately from
      proceedings for preliminary or summary relief, under
      U.S. law, a civil action is commenced with the filing
      of a complaint. Fed. R. Civ. P. 3. There is no
      separation of the preliminary proceedings and the
      proceedings on the merits. The complaint sets forth
      a statement of the claims upon which the plaintiff
      seeks relief on the merits. Fed. R. Civ. P. 8(a)(2).
      When a civil action is filed, a plaintiff may seek
      preliminary relief as part of that action. In order to
      receive preliminary or interim relief under U.S. law,
      the party seeking relief must demonstrate a likelihood
      of prevailing on the merits. A preliminary relief
      hearing can even be consolidated with a trial on the
      merits. See Fed. R. Civ. P. 65(a)(2). Thus, regardless
      of whether preliminary injunctive relief is sought,
      what matters for the purpose of determining under
      U.S. law whether an action on the merits was first to
      be filed is the filing of the complaint. The complaint
      sets forth the claims upon which the Court may issue
      a final judgment, and therefore it is the filing of the
      complaint that commences the proceedings on the
      merits in a U.S. action.
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Case 1:21-cv-00067-MR   Document 401   Filed 12/20/24   Page 15 of 29
             Mr. Meijboom’s false and misleading statements
             caused the Dutch Court to conclude that dmarcian’s
             Complaint sought only provisional relief and
             therefore did not constitute a commencement of
             proceedings on the merits, thereby making DMARC
             Advisor’s commencement of proceedings in the
             Rotterdam Court in October 2021 the “earlier filed”
             action. [See Doc. 173-2 at § 5.39 (finding that the
             U.S. proceedings “commenced” on May 22, 2022
             and therefore concluding that the October 2021
             Dutch proceedings “take precedence” as the older
             proceeding)]. The Rotterdam Court, therefore,
             denied dmarcian’s request to stay its proceedings in
             favor of the U.S. proceedings based on counsel’s
             misrepresentations of U.S. and the application of that
             law to the facts of this case.

[Doc. 216 at 19-22]. Finding that the above-referenced statements made by

DMARC Advisor’s counsel to the Rotterdam Court were “significant and

material misrepresentations,” which “create[d] a risk of inconsistent,

conflicting, and erroneous judgments which will neutralize or negate this

Court’s rulings,” this Court ordered DMARC Advisor to promptly correct its

misstatements to the Rotterdam Court prior to the commencement of the trial

on July 5, 2023. [Id. at 23]. To that end, the Court specifically required

DMARC Advisor to provide a copy of the Order to the Rotterdam Court, as

well as a statement from DMARC Advisor’s counsel that would include the

following:


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     Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 16 of 29
            (1) Counsel is submitting this statement to the
            Rotterdam Court in order to correct false and
            misleading representations previously made to the
            Court in both the Affidavit of Pressly Millen and the
            pleading notes of Alfred Meijboom;

            (2) The proceedings on the merits in the U.S. case
            began with the filing of the Complaint on March 12,
            2021, and DMARC Advisor’s representations to the
            contrary to the Rotterdam Court are entirely untrue;

            (3) The U.S. case filed on March 12, 2021 presented
            claims which put copyright ownership and the terms
            of the parties’ contracts squarely at issue. As such,
            there appears to be some overlap of issues between
            the U.S. case and that pending before the Rotterdam
            Court. DMARC Advisor’s representation to the
            Rotterdam Court that the U.S. case pleads only
            violations of U.S. copyright and trademark law, and
            not any infringing actions outside the U.S., is entirely
            untrue; and

            (4) The Preliminary Injunction issued by the U.S.
            Court did not limit application of the Copyright Act to
            only acts of infringement within the United States and
            gave extraterritorial application to reach acts of
            DMARC Advisor in Europe and elsewhere, and
            DMARC Advisor’s representations to the contrary to
            the Rotterdam Court are entirely untrue.

[Id. at 23-24]. The Court specifically warned DMARC Advisor “that failure to

comply with the directives of this Order will result in the imposition of

sanctions, up to and including the striking of DMARC Advisor’s Answer and

the entry of default against it.” [Id. at 24-25].


                                        17



     Case 1:21-cv-00067-MR     Document 401     Filed 12/20/24   Page 17 of 29
     The Defendant complied with the directive to submit the June 27, 2023

Order to the Dutch Court. However, the Defendant failed to submit the

required statement from its counsel. At the hearing before the Dutch Court

on July 5th, Mr. Meijboom continued to maintain the Defendant’s position that

the U.S. did not commence on the merits until after the Dutch case was

commenced in October 2021 and that the claims in the cases do not overlap.

[See Doc. 254-1 at 6].

     On September 14, 2023, the Plaintiff filed a motion to show cause for

the Defendant’s failure to comply with the Court’s June 27, 2023 Order.

[Doc. 253]. On May 1, 2024, the Court ordered the Defendant and its

counsel to show cause why a finding of civil contempt and imposition of

sanctions, including reasonable attorneys’ fees, was not warranted. [Doc.

358]. The show cause hearing was initially scheduled for May 15, 2024;

however, scheduling conflicts required continuance of that hearing until

August 23, 2024.

     In the meantime, on December 20, 2023, the Dutch Court reversed its

prior ruling and concluded that the U.S. proceedings were commenced

earlier than the Dutch action; that the cases had substantial overlap of

issues; and that the Dutch proceedings should be stayed pending the entry

of a final judgment in the U.S. action. [Doc. 294-1 at 11-12].
                                     18



    Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 18 of 29
       At the August 23, 2024 hearing, the Plaintiff presented argument from

both its American counsel and its Dutch counsel on the issues of contempt

and the appropriate sanctions therefor. Counsel appeared on behalf of Mr.

Millen and Mr. Hartzell to argue that a finding of contempt was not warranted

because defense counsel had substantially complied with the Court’s Order.

The Defendant’s Dutch counsel, Mr. Meijboom, also appeared on behalf of

himself and argued against a finding of contempt on numerous grounds. At

the conclusion of the hearing, the Court gave both sides the opportunity to

submit further documentation in support of their arguments, and the parties

complied. [See Docs. 385, 387].

II.    STANDARD OF REVIEW

       District courts have “inherent power to enforce compliance with their

lawful orders through civil contempt.” Sullivan v. United States, 384 U.S.

364, 370 (1966). “That power includes the ability to award damages and

attorney's fees to an aggrieved party.” Rainbow Sch., Inc. v. Rainbow Early

Educ. Holding LLC, 887 F.3d 610, 617 (4th Cir. 2018) (citing Hutto v. Finney,

437 U.S. 678, 691 (1978)). To establish civil contempt, there must be clear

and convincing evidence of four elements:

            (1) the existence of a valid decree of which the
            alleged contemnor had actual or constructive
            knowledge; (2) that the decree was in the movant's
                                     19



      Case 1:21-cv-00067-MR   Document 401   Filed 12/20/24   Page 19 of 29
             “favor”; (3) that the alleged contemnor by its conduct
             violated the terms of the decree, and had knowledge
             (at least constructive knowledge) of such violations;
             and (4) that the movant suffered harm as a result.

United States v. Ali, 874 F.3d 825, 831 (4th Cir. 2017).

III.    DISCUSSION

        The Court begins by addressing the issue of whether Mr. Meijboom

should be held in contempt. On this issue, there are two threshold questions.

As a preliminary matter, Mr. Meijboom questions whether this Court has

jurisdiction over him, as he is not counsel of record for the Defendant in this

case, even though he is counsel of record of that Defendant in the Dutch

litigation. The Court has already rejected this argument [Doc. 358 at 3-4]

and readily concludes that it may properly exercise over Meijboom for the

purpose of these contempt proceedings.

        Next, Mr. Meijboom asserts that he cannot be held in contempt for

failing to correct his misrepresentations to the Dutch Court by an affirmative

statement by him, or for having re-affirmed his representations at the July 5th

hearing. On this point, Mr. Meijboom makes two arguments. First, citing

Article 10a of the Lawyers Act and the Dutch Rules of Professional Conduct,

he argues that he is dominus litis (“the master of the suit”) and is ethically



                                      20



       Case 1:21-cv-00067-MR   Document 401   Filed 12/20/24   Page 20 of 29
required to act independently of a third party’s instructions. As such, he

contends, that he was not required to abide by the instructions of this Court.

       Mr. Meijboom’s argument in this regard overlooks Rules 6 and 8 of the

Dutch Rules of Professional Conduct and Article 21 of the Dutch Code of

Civil Procedure, which require a Dutch lawyer to accurately present the facts

while advocating for his client; to avoid causing unnecessary expense by the

opposing party; and to refrain from providing factual information that knows,

or at least should know, to be incorrect. [See Doc. 385: 3rd Hoeba Decl. at

¶¶ 4, 5; Exs. 385-1 at 10-11, 12; Exhibit 385-2 at 1].            In asserting his

misrepresentations regarding the status of the U.S. proceedings and by

failing to correct the same, Mr. Meijboom failed to comply with these ethical

requirements.

      Second, citing a decision from the European Court of Human Rights,5

Mr. Meijboom argues that he has a cognizable freedom of speech under the

European Convention on Human Rights, and that this freedom gives him the

right to criticize and even contradict the opinion of any judge (European or

American). As such, he argues that statements and his failure to comply with




5 Lutgen v. Luxembourg, Case 36681/23 Eur. Ct. H.R. (2024).

                                         21



     Case 1:21-cv-00067-MR     Document 401      Filed 12/20/24   Page 21 of 29
the June 27, 2023 order are protected, even though they were in the nature

of a factual misrepresentation.

       The Court is reluctant to interpret, much less apply, European law in

this instance.6 The Court finds, however, it is not necessary to do so. When

Mr. Meijboom failed to comply with this Court’s Order and spoke in direct

contravention thereof, he was acting as an advocate of DMARC Advisor. His

actions and words were DMARC Advisor’s actions and words. There is no

question that DMARC Advisor is before this Court and that this Court has

jurisdiction over it. As such, the Court finds that Mr. Meijboom’s actions,

inaction, and words were contemptuous of this Court; that Mr. Meijboom

committed such contemptuous acts with the full knowledge and approval of

DMARC Advisor; and that such supports a finding and holding that the

Defendant DMARC Advisor is in civil contempt of this Court.

       The Court next addresses the actions and failure to comply of Mr.

Millen. The facts and circumstances surrounding Mr. Millen’s conduct are

materially different from those concerning Mr. Meijboom. As previously found


6 Even though Mr. Meijboom’s argument in this regard would seem to be beyond the pale,

and would also appear to vitiate any requirement of candor that Mr. Meijboom may have
to the Dutch Court where he is admitted to practice, this may be more of a question for
the authorities in the Netherlands who govern the licensing of attorneys in that court, than
for this Court to address herein. Moreover, there is the practical limitation of whether any
contempt sanction levied against Mr. Meijboom could be enforceable, given there is no
requirement or certainty that he will ever return to the United States.
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     Case 1:21-cv-00067-MR        Document 401       Filed 12/20/24    Page 22 of 29
by this Court, Mr. Millen’s affidavit of May 2, 2022 was materially false.

Therein, he stated that the case in this Court addressed only copyright and

trademark issues, ignoring the other twelve claims that were pending, and

asserted that there was no overlap of claims or issues between this case and

that pending in the Dutch Court. In addition, Mr. Millen’s affidavit was silent

on the crucial issue of when the merits of this case commenced, even though

Mr. Meijboom had represented to the Dutch Court that this did not occur until

May 22, 2002 (i.e., after Mr. Millen’s affidavit, presumably the date of the

taking of the first deposition in the case). Mr. Millen was ordered to correct

his misrepresentation by the filing of this Court’s June 27, 2023, Order with

the Dutch Court and also by the filing of a statement of correction. Just as

Mr. Meijboom, he did the first but not the second. Unlike Mr. Meijboom,

however, he did not re-affirm his misrepresentation to the Dutch Court, but

merely remained silent.

      Mr. Millen, through counsel, presents several arguments as to why his

failure should be excused. First, he argues that his efforts at compliance

were thwarted by Mr. Meijboom. Since Mr. Meijboom was the counsel of

record for the Dutch Court, and Mr. Millen was not, Mr. Millen was entirely

dependent on Mr. Meijboom for Mr. Millen to comply. Mr. Millen, however,

has presented nothing to this Court to demonstrate what efforts, if any, he
                                      23



    Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 23 of 29
personally made to undertake compliance through Mr. Meijboom. He has

not shown any corrective affidavit that he attempted to present to the Dutch

Court either with or without Mr. Meijboom’s cooperation. He also did nothing

to apprise this Court that he was being thwarted in any attempt to comply. In

all respects, Mr. Millen simply remained silent. Mr. Millen’s counsel argued

that the filing of this Court’s June 27, 2023 order without the corrective

statement constituted “substantial compliance” with the Court’s directive.

This argument, however, was belied by the fact that Mr. Meijboom appeared

before   the   Dutch   Court    on   July     5,     2023,    and    reaffirmed     the

misrepresentations previously made. This, of course, made the corrective

statements (and particularly Mr. Millen’s corrective statement) all the more

crucial to achieving substantial compliance with this Court’s Order.

     Mr. Millen’s third argument can best be summarized as “no harm, no

foul.” After the July 5, 2023 hearing the Dutch Court ultimately found in

accord with this Court’s order and rejected Mr. Millen’s and Mr. Meijboom’s

misrepresentations. The sequence of events, however, was not so simple.

The Dutch Court’s initial ruling was in accord with Mr. Millen’s and Mr.

Meijboom’s misrepresentations. Only after a protracted procedural struggle

was the error corrected by a subsequent order of the Dutch Court on


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    Case 1:21-cv-00067-MR      Document 401        Filed 12/20/24   Page 24 of 29
December 20, 2023. Even then, Mr. Meijboom has persisted in seeking the

reversal thereof—continuing to be persistent in his wrongful conduct.

      It is obvious that Mr. Millen’s conduct was not as blatant as that of Mr.

Meijboom, and compliance with the Court’s order would have been much

more difficult for Mr. Millen. But the fact remains that he materially failed to

comply, and that his efforts to comply were no more than half measures. Not

only did this cause the Plaintiff to incur substantial expense, but these

misrepresentations and the failure to correct them have delayed this case

and the Dutch proceedings by many months, if not years. For these reasons,

the Court find that Mr. Millen’s material failure to comply with this Court’s

June 27, 2023 Order was contemptuous of this Court and that such conduct

supports a finding and a holding that Mr. Millen is in civil contempt of this

Court.

      Regarding Mr. Hartzell, the Court finds that Mr. Hartzell made no

material misrepresentations to the Dutch Court and thus had no individual

obligation to correct any misstatements of his own. The Order did, however,

direct “counsel for the Defendant” to correct the misrepresentations that were

made.     The Court finds that Mr. Hartzell undertook a number of

communications seeking to prod Mr. Meijboom into full compliance with this


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     Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 25 of 29
Order. Therefore, the Court declines to find any of Mr. Hartzell’s conduct to

be contemptuous of this Court.

      In assessing an appropriate sanction for DMARC Advisor and Mr.

Millen, the Court finds that substantially different sanctions for each would

be appropriate because the nature of their respective contemptuous acts and

omissions were materially different.

      With regard to DMARC Advisor, the particular acts of contempt set out

herein are merely another chapter in a series of obstructionist and

obstreperous litigation tactics by the Defendant that have drawn this case

out and caused the Plaintiff great expense. The Court entered a Preliminary

Injunction in this matter, which the Defendant promptly disregarded,

necessitating a finding of contempt.7

      Were it not for the Defendant’s machinations in the Dutch Court, as

well as its misrepresentations thereto, this case would probably have been

concluded in 2023. In fact, even the show cause hearing at issue here was

delayed several times at the Defendant’s request such that it had to be



7 That order of contempt was affirmed by the Fourth Circuit.  Since that time, the Supreme
Court has come to the Defendant’s rescue in that the Supreme Court’s subsequent
decision in Abitron Austria GmbH v. Hetronic International, Inc., 600 U.S. 412 (2023),
undercut the basis for this Court’s and the Fourth Circuit’s rulings, and thus necessitated
the vacating of the sanctions entered thereon. That, however, does not excuse or even
diminish the overt disregard for the orders of this Court demonstrated by the Defendant.
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     Case 1:21-cv-00067-MR        Document 401      Filed 12/20/24    Page 26 of 29
scheduled on August 23, 2024, the date that had been reserved for the final

pretrial conference. Now, however, the trial of this matter will not commence

until March 2025.

      As the Fourth Circuit noted in the prior appeal of this matter, “[a] civil

contempt sanction must serve either to (1) coerce obedience to a court order,

or (2) compensate the complainant for losses sustained as a result of the

contumacy.” dmarcian, Inc. v. dmarcian Eur. BV, 60 F.4th 119, 146 (4th Cir.

2023) (quoting in part Cromer v. Kraft Foods N. Am., Inc., 390 F.3d 812, 821

(4th Cir. 2004)) (internal quotation marks omitted). Here, the Plaintiff has

represented to the Court that the Defendant’s delay tactics and

misrepresentations have cost the Plaintiff some €250,000 (approximately

262,000 USD) in attorney’s fees in the Dutch action alone. [Doc. 386: Tr. at

142]. The Court can reasonably estimate that the attendant cost to the

Plaintiff relative to this action can amount to an additional $150,000. Based

thereon, the Court imposes on the Defendant as a compensatory sanction

for this contempt a fine in the amount of $400,000.

      On the other hand, Mr. Millen’s improper actions constitute one small

slice of the overall obstruction of the Defendant. Therefore, making him

jointly and severally liable for that monetary sanction would not be warranted.

In lieu of imposing any monetary penalty on him, the Court instead will
                                      27



    Case 1:21-cv-00067-MR     Document 401    Filed 12/20/24   Page 27 of 29
suspend Mr. Millen’s admission to the Bar of this District for the pendency of

the present action. This sanction, however, is imposed not as a punitive

sanction but as a coercive one. Mr. Millen can purge his contempt by

certifying under oath and demonstrating to the satisfaction of the Court that

he has had filed with the Dutch Court an affidavit, under oath, correcting the

misstatements and omissions of his prior affidavit, as well as the

misstatements and omissions made by Mr. Meijboom, and apologizing to the

Dutch Court for such failures. Upon the completion of such, Mr. Millen’s

suspension will be lifted fourteen (14) days thereafter.

      IT IS, THEREFORE, ORDERED that the Defendant DMARC Advisor

BV is hereby held in civil contempt of the Court’s June 27, 2023 Order. The

Defendant shall pay to the Plaintiff Four Hundred Thousand Dollars

($400,000.00), representing the attorney’s fees and expenses incurred by

the Plaintiff as a result of the Defendant’s contemptuous conduct.

      IT IS FURTHER ORDERED that the Defendant’s counsel, Pressly

Millen, is hereby found in civil contempt and his admission to the Bar of this

District is hereby suspended for the pendency of the present action. Mr.

Millen may purge his contempt by filing a certification under oath that he has

had filed with the Dutch Court an affidavit correcting the misstatements and


                                      28



    Case 1:21-cv-00067-MR    Document 401    Filed 12/20/24   Page 28 of 29
omissions of his prior affidavit, as well as the misstatements and omissions

made by Mr. Meijboom, and apologizing to the Dutch Court for such failures.

     IT IS SO ORDERED.
                            Signed: December 19, 2024




                                       29



    Case 1:21-cv-00067-MR   Document 401         Filed 12/20/24   Page 29 of 29
